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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                EUGENE DIVISION

Elizabeth HUNTER; et al.,
                                                                 Case No. 6:21-cv 00474-AA
                              Plaintiffs,
                                                                 DECLARATION OF PAUL
                 v.                                              CARLOS SOUTHWICK
                                                                 ISO SUPPLEMENTAL
U.S. DEPARTMENT OF EDUCATION; and Catherine                      BRIEF OF NEWLY
LHAMON, in her official capacity as Assistant                    DISCOVERED FACTS
Secretary for the Office of Civil Rights, U.S.
Department of Education,

                              Defendants,

                 v.

COUNCIL FOR CHRISTIAN COLLEGES &
UNIVERSITIES, WESTERN BAPTIST COLLEGE
d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
UNIVERSITY AND PHOENIX SEMINARY,

                              Intervenor-Defendants.



                                                       Religious Exemption Accountability Project
                                                                       Paul Southwick Law, LLC
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I, Paul Carlos Southwick, declare:

1. I am over 18 years of age and have personal knowledge of the matters stated in this

   declaration and would testify truthfully to them if called upon to do so.

1. Attached as Exhibit A are compiled documents relating to OCR's investigation of alleged

   Title IX violations by Lincoln Christian University (LCU), submitted by plaintiffs' counsel

   on behalf of Kalie Hargrove. On October 28, 2021, OCR Case No. 05-22-2023 was filed

   by plaintiffs’ counsel on behalf of putative plaintiff Kalie Hargrove. On January 7, 2022,

   OCR emailed a letter to plaintiffs’ counsel stating that the agency had opened

   an investigation based on the allegation that “in August 2021, the University discriminated

   against Kalie Hargrove (Student A) on the basis of sex (gender identity) by directing her

   to either to withdraw from classes or face discipline because she publicly identified as

   transgender.” In a letter dated January 22, 2022, LCU requested assurance from the

   Assistant Secretary for Civil Rights of exemptions from a range of Title IX provisions

   regarding sexual orientation, gender identity, and other criteria based on religious beliefs.

   In a letter to LCU dated April 5, 2022, the Assistant Secretary provided LCU with the

   requested assurance of exemptions.

2. Attached as Exhibit B are compiled documents relating to OCR's investigation of alleged

   Title IX violations by Clarks Summit University (CSU), submitted by plaintiffs' counsel

   on behalf of Gary Campbell. On July 28, 2021, OCR Case No. 03212192 was filed by

   plaintiffs’ counsel on behalf of Gary Campbell. On January 18, 2022, OCR emailed a letter

   to plaintiffs’ counsel, stating that “OCR will proceed with an investigation of Allegation 1

   because it raises a possible violation of Title IX and its implementing regulation that is

   ongoing based on existing policies.” The OCR is investigating the allegation that “The



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   University maintains a policy in its Student Handbook prohibiting students from engaging

   in same-sex romantic or sexual relationships, as well as from ‘crossdressing or other

   actions deliberately discordant with birth gender.’” In the same letter, the OCR also

   informed plaintiffs’ counsel that it was dismissing “Allegation 2” that “The University

   discriminated against the Student on the basis of sexual orientation by expelling him from

   the University and refusing to allow him to reenroll or to graduate,” because OCR had

   deemed the allegation untimely. In a letter dated February 3, 2022, CSU requested

   assurance from the Assistant Secretary of exemptions from a range of Title IX provisions

   with regard to sexual orientation and gender identity, purportedly based on religious

   beliefs. In a letter dated April 5, 2022, the Assistant Secretary provided CSU with the

   requested assurance of exemptions.

3. Attached as Exhibit C are compiled documents relating to OCR's investigation of alleged

   Title IX violations by Colorado Christian University (CCU), submitted by plaintiffs'

   counsel on behalf of Journey Mueller. Prior to this case, on November 4, 2014, CCU

   requested assurance from the Assistant Secretary of exemption from a range of Title IX

   provisions regarding gender identity. Additional letters were exchanged between the

   Assistant Secretary and CCU from December 5, 2014, to January 6, 2015, requesting and

   providing clarification of the bases for the request. In a letter dated June 28, 2016, the

   Assistant Secretary provided CCU with the requested assurance of exemptions. On August

   3, 2021, OCR Case No. 8-21-2214 was filed by plaintiffs’ counsel on behalf of Journey

   Mueller. On April 8, 2022, OCR emailed a letter to plaintiffs’ counsel stating that “OCR

   is opening Allegation 1 for investigation because OCR has determined that it has

   jurisdiction, that the allegation was timely filed, and that it is appropriate for investigation



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   under the laws and regulations enforced by OCR.” The OCR is investigating the allegation

   that Colorado Christian University “discriminates against LGBTQ+ students because its

   policies and practices, including in its current Student Handbook, prohibit students from

   engaging in behavior that exhibits a same-sex romantic relationship and subject students

   who engage in same-sex romantic relationships to discipline.” In the same letter, the OCR

   also informed plaintiffs’ counsel that it was dismissing “Allegation 2” that “after the

   University learned that the Student is a lesbian, it discriminated against her on the basis of

   sexual orientation during the 2017-18 school year by, among other things, placing the

   Student on academic probation, removing her from her housing, requiring her to attend

   conversion therapy and mentorship meetings, and blocking access to LBGTQ+ affirming

   resources on the University’s wi-fi.” because OCR had deemed the allegation untimely.

4. Attached as Exhibit D are compiled documents relating to OCR's investigation of alleged

   Title IX violations by Azusa Pacific University, submitted by plaintiffs' counsel on behalf

   of Jonathan Jones. On July 27, 2021, OCR Case No. 09-21-2318 was filed by plaintiffs’

   counsel on behalf of Jonathan Jones. On May 3, 2022, the OCR emailed a letter to

   plaintiffs’ counsel stating “OCR is opening Allegations 1 and 2 for investigation with

   respect to the University’s policies and practices in the 2021-2022 academic year and the

   spring 2021 semester, the Student’s last semester, because OCR has determined that it has

   jurisdiction, that these allegations were timely filed, and that they are appropriate for

   investigation under the laws and regulations enforced by OCR.” The OCR is investigating

   allegations that: “1. The University discriminated against the Student in the Spring 2021

   semester and continues to discriminate against LGBTQ+ students based on sexual

   orientation and gender identity because its policies and practices, including in its current



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   Student Handbook, prohibit sexual intimacy outside of marriage and endorse the doctrine

   that marriage is between a man and a woman (Allegation 1) and 2. The University

   discriminated against the Student in the Spring 2021 semester and continues to discriminate

   against LGBTQ+ students based on sexual orientation and gender identity by refusing to

   fully recognize the LGBTQ+ student group on campus (Allegation 2).” In the same letter,

   OCR also dismissed “Allegation 3” that “The University discriminated against the Student

   based on sexual orientation and gender identity because changes the University made to its

   policies on same-sex dating in 2018 and 2019, as well as a letter a University professor

   sent to the University in fall 2018 about such changes, left the Student fearful of being

   punished and having their scholarship revoked,” because OCR had deemed the allegation

   untimely.

5. Attached as Exhibit E are compiled documents relating to OCR's investigation of alleged

   Title IX violations by La Sierra University, submitted by plaintiffs' counsel on behalf of

   Cameron Martinez. On July 27, 2021, OCR Case No. 09-21-2314 was filed by plaintiffs’

   counsel on behalf of Cameron Martinez. On May 3, 2022, the OCR emailed a letter to

   plaintiffs’ counsel, stating “OCR is opening Allegations 1 and 2 for investigation because

   OCR has determined that it has jurisdiction, that these allegations were timely filed, and

   that they are appropriate for investigation under the laws and regulations enforced by

   OCR.” The OCR is investigating allegations that “1) The University is discriminating

   against the Student and other LGBTQ students on the basis of sexual orientation and gender

   identity by refusing to officially recognize the LGBTQ student group on campus

   (Allegation 1), and 2) The University is discriminating against the Student and other

   LGBTQ students on the basis of sexual orientation and gender identity because its policies



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   and practices, including in its current student handbook, endorse the Seventh-day Adventist

   doctrine on homosexuality, stating that sexual intimacy belongs only within the marital

   relationship of a man and a woman (Allegation 2).” In the same letter, OCR also dismissed

   “Allegation 3” that: “The University discriminated against the Student on the basis of

   sexual orientation and gender identity by failing to address their two complaints to the

   University in 2018, which alleged that a faculty member made homophobic comments in

   the classroom and a guest lecturer made comments disparaging LGBTQ individuals,”

   because OCR had deemed the allegation untimely.

6. Attached as Exhibit F are compiled documents relating to OCR's investigation of alleged

   Title IX violations by Liberty University, submitted by plaintiffs' counsel on behalf of

   Lucas Wilson. On July 27, 2021, OCR Case No. 11-21-2235 was filed by plaintiffs’

   counsel on behalf of Lucas Wilson. On May 4, 2022, the OCR emailed a letter to plaintiffs’

   counsel stating that “OCR is opening Allegation 1 for investigation because OCR has

   determined that it has jurisdiction, that the allegation was timely filed, and that it is

   appropriate for investigation under the laws and regulations enforced by OCR.” OCR is

   investigating the allegation that “The University discriminates against LGBTQ+ students

   through its policies and practices, including the Statement on Sexuality and Relationships

   in the Student Honor Code and the role of the on-campus group called Armor Bearers." In

   the same letter, OCR also dismissed “Allegation 2” that “The University discriminated

   against the Student on the basis of sexual orientation while he attended the University

   between 2008 and 2012 by maintaining a policy that behavior reflecting LGBT identity

   was a violation of the Student Honor Code, and by encouraging him to participate in




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   conversion therapy to avoid punishment.” because OCR had deemed the allegation

   untimely.

7. Attached as Exhibit G are compiled documents relating to OCR's investigation of alleged

   Title IX violations by Regent University, submitted by plaintiffs' counsel on behalf of

   Jamie Lord. On July 28, 2021, OCR Case No. 11-21-2233 was filed by plaintiffs’ counsel

   on behalf of Jamie Lord. On May 24, 2022, OCR emailed a letter to plaintiffs’ counsel

   stating that “OCR is opening the complaint for investigation because OCR has determined

   that it has jurisdiction, that the complaint was timely filed, and that it is appropriate for

   investigation under the laws and regulations enforced by OCR.”

8. Attached as Exhibit H are four dismissal letters sent by OCR to plaintiffs’ counsel

   regarding Title IX complaints filed by plaintiffs’ counsel on behalf of four plaintiffs against

   four different schools. The complaint filed for Ashtin Markowski, OCR Case No. 08-21-

   2212, alleging Title IX violations by Brigham Young University, was dismissed on

   October 19, 2021. The complaint filed for Joanna Maxon, OCR Complaint No. 09-21-

   2317, alleging Title IX violations by Fuller University was dismissed on January 12, 2022.

   The complaint filed for Nathan Brittsan, OCR Complaint No. 09-21-2322, alleging Title

   IX violations by Fuller University was dismissed on January 12, 2022. The complaint filed

   for Mackenzie McCann, OCR Complaint No. 11-21-2236, alleging Title IX violations by

   Liberty University was dismissed on May 5, 2022.

   9.     Attached as Exhibit I are compiled documents relating to OCR's dismissal of

   alleged Title IX violations by Brigham Young University (BYU) submitted by plaintiffs'

   counsel       on      behalf       of       putative        plaintiff    Alice       Murphy.




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10. Attached as Exhibit J are compiled documents relating to OCR’s investigation of a prior

    complaint against BYU. On November 19, 2021, BYU submitted a request for assurance

    of religious exemption to the Assistant Secretary in response to being notified by the OCR

    on October 21, 2021, that the agency had initiated an investigation into alleged Title IX

    violations by BYU. These allegations were made in OCR Case No. 08-20-2196, submitted

    on March 9, 2020 by a student with no connection to Alice Murphy’s case. In a letter dated

    January 3, 2022, the Assistant Secretary provided BYU with the requested assurance of

    exemptions. In a letter dated February 8, 2022, OCR stated that “Because the University is

    exempt from the above-referenced regulatory provisions of Title IX to the extent that

    application of those provisions conflict with the religious tenets of its controlling religious

    organization, OCR lacks jurisdiction to address the complaint's allegations. Accordingly,

    OCR is dismissing this complaint pursuant to Section 108(f) of its Case Processing Manual

    as of the date of this letter.”

11. Attached as Exhibit K are compiled documents relating to OCR's dismissal of alleged Title

    IX violations by Brigham Young University-Idaho (BYU-I), submitted by plaintiffs'

    counsel on behalf of Chandler Horning on July 27, 2021, OCR Case Nos. 10212151.

12. Attached as Exhibit L are compiled documents relating to OCR's dismissal of alleged Title

    IX violations by Brigham Young University-Idaho (BYU-I), submitted by plaintiffs'

    counsel on behalf of Rachel Moulton on July 27, 2021, OCR Case No. 10212152.

13. Attached as Exhibit M are compiled documents relating to OCR's dismissal of alleged

    Title IX violations by Bob Jones University, submitted by plaintiffs' counsel on behalf of

    Elizabeth Hunter on July 27, 2021, OCR Case No. 11-21-2234.




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   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and

correct, and that this declaration was executed this 20th day of July, 2022.




                                               By: s/Paul Carlos Southwick
                                               Paul Carlos Southwick




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